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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                   Plaintiff,                 )
                                              )
             v.                               )        No. 4:10 CR 595 JCH/DDN
                                              )
BRIAN LEWIS HEDRICK, et al.,                  )
                                              )
                   Defendants.                )

                            ORDER AND RECOMMENDATION
                        OF UNTIED STATES MAGISTRATE JUDGE

      This action is before the court upon the pretrial motions of the
parties which were referred to the undersigned United States Magistrate
Judge under 28 U.S.C. § 636(b).               An evidentiary hearing was held on
February 23, 2011.
      Pending before the court are the oral and written motions of
defendant Brian Lewis Hedrick to suppress evidence (Docs. 59, 96, 117),
the   oral    motion    of    the     government    for   a      determination    of   the
admissibility of arguably suppressible evidence (Doc. 60), and the
written motion of defendant Hedrick to sever the charges against him for
a trial separate from co-defendants (Doc. 95).


                                 I.    MOTION TO SEVER
      Defendant Hedrick has moved to sever his trial from that of co-
defendants Brett Crawford, Kenneth A. Keil, Stacy Cole, and Christopher
Watson.   (Doc. 95.)
      The court has already found joinder of these defendants’ trials
proper.      United States v. Crawford, et al., No. 4:10 CR 595 JCH/DDN
(Docs. 99, 104).       Thus, the court turns to defendant Hedrick’s argument
for severance under Rule 14 of the Federal Rules of Criminal Procedure.
      In support of his argument for severance, defendant Hedrick argues
(1) that the government intends to present evidence against defendant
Keil for criminal acts allegedly committed solely by defendant Keil, and
that the jury will improperly consider that evidence against him; and (2)
that he and co-defendants are likely to present mutually antagonistic
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defenses,   and   that   as    a   result,     a    joint   trial     would   relieve   the
government of its burden.
     "Once defendants are properly joined under Rule 8, there is a strong
presumption for their joint trial, as it gives the jury the best
perspective on all of the evidence and therefore increases the likelihood
of a correct outcome." United States v. Flores, 362 F.3d 1030, 1039 (8th
Cir. 2004).    Despite the judicial preference for joint trials, if the
joinder appears to prejudice a defendant, the court may order separate
trials of counts, sever the defendants' trials, or provide any other
relief that justice requires.           See Fed. R. Crim. P. 14(a); Zafiro v.
United States, 506 U.S. 534, 539 (1993); United States v. Boyd, 180 F.3d
967, 982 (8th Cir. 1999).             "To grant a motion for severance, the
necessary prejudice must be ‘severe or compelling.’ ”                    United States v.
Pherigo, 327 F.3d 690, 693 (8th Cir. 2003).
     Regarding defendant Hedrick’s first argument, whether or not the
jury will be able to compartmentalize the evidence is best determined at
trial when the trial court can consider such factors as the complexity
of the case, whether any of the defendants were acquitted, and the
adequacy of limiting jury instructions and admonitions to the jury.
Richardson v. Marsh, 481 U.S. 200, 211 (1987); United States v. Ghant,
339 F.3d 660, 665-66 (8th Cir. 2003); United States v. Sazenski, 833 F.2d
741, 745-46 (8th Cir. 1987).
     Regarding    defendant        Hedrick’s       second   argument,     “[a]ntagonistic
defenses require severance only when there is a danger that the jury will
unjustifiably infer that this conflict alone demonstrates that both are
guilty.”    United States v. Sandstrom, 594 F.3d 634, 644 (8th Cir. 2010).
Further, “[m]utually antagonistic defenses are not prejudicial per se,”
and Rule 14 “does not require severance even if prejudice is shown;
rather, it leaves the tailoring of the relief to be granted, if any, to
the district court’s sound discretion.”               Id.    See also United States v.
Payton, --- F.3d ---, 2011 WL 668060 at ** 5-6 (8th Cir. 2011).                      Other
than to argue that another defendant is criminally responsible, and that
he is not, defendant Hedrick has not specifically described how his and
his co-defendants’ defenses, especially co-defendant Keil’s, are mutually



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antagonistic sufficiently to cause the jury to unjustifiably infer that
both are guilty.
        At this pretrial stage of the proceedings, defendant Hedrick has not
made a sufficient showing to sever his trial.                 Therefore, the court will
deny defendant Hedrick’s motion to sever without prejudice.                            Upon a
sufficient showing during trial, defendant Hedrick may refile his motion
to sever.


                                  II.   MOTION TO SUPPRESS
        Defendant Hedrick has moved to suppress his statements and the
physical evidence obtained pursuant to the search after he was advised
of his Miranda rights and after invoked his right to counsel.                       (Docs. 59,
96, 117.)       From the evidence adduced at the hearing, the undersigned
makes the following findings of fact and conclusions of law:


                                            FACTS
        1.     On   June    22,     2009,   defendant       Brian     Lewis    Hedrick    was
interviewed at the Missouri Highway Patrol Troop C Headquarters. Hedrick
had been told that his name came up during an investigation into stolen
trailers, and agreed to come to the station to give a statement.
        2.     Hedrick drove himself in his own car to the interview, and
arrived at the station between 9:30 and 9:45 am.                      St. Charles County
Sheriff’s Department Detective Ross Bishop arrived at the station at the
same time, and exchanged greetings with Hedrick.                        Hedrick was then
greeted inside the station by Missouri Highway Patrol Sergeant David
Bauer.        Hedrick signed in as a visitor, and was escorted from the
entrance of the station, through 3 secure doors, to an interview room.
Prior    to    entering     the    interview      room,    Hedrick    was     not   searched,
fingerprinted, photographed, or handcuffed, and was allowed to keep his
cellular phone with him.            The interview room contained four chairs and
a two-way mirror.          Hedrick was not told where to sit, and was not told
that he had to stay in the room.                  The door to the interview room was
unlocked.
        3.     At the beginning of the interview, only Missouri Highway
Patrol Sergeant Jeffrey Paul and Sgt. Bauer were inside with Hedrick.

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Det. Ross Bishop, National Insurance Crime Bureau Investigator Larry
Liggett, and St. Louis County Police Department Detective Bill Muller
observed and listened to the interview from the other side of the mirror.
Each of the officers were wearing casual clothing, and had their firearms
and badges visibly displayed on their belts.                 Throughout the interview,
Hedrick was not handcuffed, shackled, threatened, beat, or promised
anything.        None of the officers drew their firearms or deliberately
showed their badges to Hedrick.
        4.      Sgts. Paul and Bauer began the interview by identifying
themselves and the nature of the interview.                  Hedrick was not read his
Miranda rights, but was told that the interview was being recorded.1
After a brief discussion, Hedrick wrote his statement, finishing at 10:15
a.m.        Sgt. Paul signed the statement as a witness.                    (Gov. Ex. 1.)
Hedrick then read the statement aloud so that it would be included in the
audio       recording.     Sgts.    Paul   and    Bauer   then     began   asking    Hedrick
questions       designed   to    verify    his    statement      and    obtain   additional
information. Sgts. Paul and Bauer questioned Hedrick about the purchase,
sale, and titling of a trailer that Hedrick had once owned. The officers
also    asked    Hedrick   about     his   and    his   family’s       involvement   in   the
purchase, transportation, and sale of that and other trailers.                       After a
few minutes, Inv. Liggett entered the interview room to ask additional
questions.       Although the conversation at the beginning of the interview
was casual, the questions became more pointed and began revealing
inconsistencies in Hedrick’s statement.                 Hedrick was confronted about a
trailer that had been recovered in Perry, Missouri, which had been stolen
and re-tagged.       Inv. Liggett also confronted Hedrick with the bill of
sale for the trailer.           After approximately 44 minutes, Sgt. Paul orally
read Hedrick his Miranda rights, and told Hedrick that he was not under
arrest.
        5.      Sgt. Bauer became animated while questioning Hedrick, and
expressed his frustration with what he believed Hedrick and others had


        1
      At the end of the evidentiary hearing, the government provided the
court with two audio CDS on which approximately two hours of the
interview was audio-recorded.    These CDS have been marked Government
Exhibits 3-A and 3-B and have been submitted to the clerk for filing.

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done.       Sgt. Bauer told Hedrick that it was a “no brainer” that he could
charge him for two crimes.          One of the other offers stated that if
Hedrick did not cooperate, they would arrest his mother “at the most
embarrassing point of her day.”             After further questioning, Sgt. Paul
said, “Everybody take a step back.”           Hedrick was not getting aggressive,
although his face was red. After additional questioning, Hedrick stated,
“To be honest with you, I think I need an attorney now.                  I didn’t know
I was coming in to all this.”          Sgt. Paul told Hedrick that he had the
right to stop the interview at any time, although he could continue
talking if he wanted. The interview continued, although the tone became
more    serious    as   the   questions     became   more   pointed.       During   the
questioning, one of the officers commented that he knew the prosecutors
like friends, spoke with the prosecutors on a first name basis, and
called the prosecutors on their cellular phones at home with questions.
        6.     After    further   questioning,        Hedrick     said    that he was
uncomfortable with so many people in the room.                   Sgt. Bauer said to
Hedrick, “I’ll get out of your face” and left the room, although he had
not been physically close to Hedrick’s face.             Rather, this statement was
a reference to the nature of the questions he had been asking Hedrick.
Sgt. Paul and Inv. Liggett continued questioning Hedrick.                 Dets. Bishop
and Muller entered the interview room, and Sgt. Paul left.                 Hedrick was
not told he had to stay in the room, and the door remained unlocked.
        7.     Around noon, the officers asked Hedrick if they could go to
his house and look at his trailers.           Hedrick said they could.      When asked
to fill out a Consent to Search Form, Hedrick said that he did not mind
the officers looking at his trailers, but he did not want them to search
his house because his girlfriend and children were there.                  Hedrick was
hesitant to sign the form, and said “I don’t want to sign this because
I don’t know what I’m doing.”        Det. Muller told Hedrick that he could be
arrested, and that he could get a search warrant for his house and for
his mother’s house, without his consent.2               Det. Bishop and the other
officers assured Hedrick that they would not search his house, after



        2
      At this point in the interview, the recording device malfunctioned
and did not continue recording.

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which Hedrick agreed to the search.          Det. Bishop began filling out a
Consent to Search Form while in the interview room.
     8.     Thereafter, the officers and Hedrick drove to Hedrick’s house.
Sgt. Paul rode in Hedrick’s car while Hedrick drove.            The car ride was
amicable, and lasted between 15-20 minutes. While in Hedrick’s driveway,
Det. Bishop added to the Consent to Search Form, “*NOT TO INCLUDE
HOUSE*”.    Hedrick had no questions, and signed the form.          (Gov. Ex. 2.)
     9.     Once Hedrick signed the form, the officers began searching his
trailers, garage, and outbuildings.        While the officers were searching,
Hedrick was talking, answering and asking questions, and helping the
officers by identifying items.           Hedrick’s house was not searched.
Hedrick never told the officers to stop searching or to leave, or that
he was unhappy or minded people being on his property.                Hedrick was
neither handcuffed nor shackled, and his movement was not limited,
although one of the officers always kept track of his location. During
the search, Det. Bishop found and seized a metal plate that had been
struck with VIN stamps consistent with those of the stolen trailers. The
officers also found a license plate associated with the stolen trailers,
but it was not seized.       In total, the search lasted between 60-90
minutes, after which the officers left. Hedrick was not arrested.


                                 DISCUSSION
     Defendant Hedrick argues that his statements and the physical
evidence obtained after he was read his Miranda rights and after he
invoked his right to counsel should be suppressed.          (Docs. 96, 117.)     He
argues that once he was read his Miranda rights, he expressed his desire
to speak to an attorney, and that the law enforcement officers ignored
his request and continued to question him.          (Id.)   He argues that as a
result, his statements were made absent a voluntary, knowing, and
intelligent waiver, and his consent to search was not voluntary because
it was obtained through coercion.        (Id.)
     The government bears the burden of establishing the constitutional
admissibility of a defendant’s statements by a preponderance of the
evidence.    United States v. Boslau, --- F.3d ---, No. 10-1167, 2011 WL
500204, at *6 (8th Cir. Feb. 15, 2011). Miranda requires law enforcement

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agents to provide certain warnings before interrogating an individual who
is in custody.     United States v. Vinton, 631 F.3d 476, 481 (8th Cir.
2011); Miranda v. Arizona, 384 U.S. 436, 444, 461 (1966).                         However,
“[t]he requirements of Miranda are triggered only when a defendant is
both in custody and being interrogated.” United States v. Head, 407 F.3d
925, 928 (8th Cir. 2005).        That said, an individual may waive the rights
contained in a Miranda warning, provided the waiver “is made voluntarily,
knowingly, and intelligently.”         Miranda, 384 U.S. at 444; United States
v. Harper, 466 F.3d 634, 643 (8th Cir. 2006).
      Similarly, “[a]lthough a warrantless search presumptively violates
the Fourth Amendment, voluntary consent to a search is a well-recognized
exception to the warrant requirement.”            United States v. Golinveaux, 611
F.3d 956, 959 (8th Cir. 2010).         However, consent to search is valid only
if it is voluntarily given, or “if the searching officer reasonably
believes that the subject gave voluntary consent.”                      United States v.
Arreola, 250 Fed. App’x 765, 767 (8th Cir. 2007) (per curiam).                          The
government     bears   the    burden   of    proving    the     defendant     voluntarily
consented to the search.         Golinveaux, 611 F.3d at 959.


A.   Custody
      When determining whether a defendant was in custody, the court must
“consider the totality of the circumstances confronting the defendant at
the time of the interview,” and “determine whether a reasonable person
in his position would consider his freedom of movement restricted to the
degree associated with formal arrest.” United States v. Muhlenbruch, ---
F.3d ----, 2011 WL 536493, at *3 (8th Cir. Feb. 17, 2011) (internal
quotations omitted).         The court must focus on “objective circumstances,
not on subjective views of the participants.”                 Id.     The following non-
exclusive factors are relevant to this determination:
      (1) whether the suspect was informed that he was free to leave
      and that answering was voluntary; (2) whether the suspect
      possessed freedom of movement; (3) whether the suspect
      initiated contact or voluntarily acquiesced; (4) whether
      strong arm tactics or deceptive stratagems were employed; (5)
      whether the atmosphere was police dominated; or, (5) whether
      the suspect was placed under arrest at the end of questioning.



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Id. at *3-4.       The first three factors weigh against the existence of
custody, while the last three factors weigh in favor of the existence of
custody.       United States v. Wolk, 337 F.3d 997, 1006 (8th Cir. 2003).
        After considering the facts involved, the court finds that defendant
Hedrick was not in custody at the time of the questioning.                       Although the
interview occurred at the Missouri Highway Patrol Troop C Headquarters,
“warnings [are] not required . . . simply because the questioning [took]
place in the station house.”             United States v. LeBrun, 363 F.3d 715, 720
(8th Cir. 2004).         Defendant Hedrick voluntarily agreed to give a written
statement at the station, and drove alone in his own car to the station.
He was never handcuffed, shackled, fingerprinted, searched, or otherwise
physically restrained during the interrogation.                     Id. at 722.   Throughout
the interview, the interview room door was unlocked, United States v.
J.H.H., 22 F.3d 821, 831 (8th Cir. 1994), and he retained his cellular
phone, LeBrun, 363 F.3d at 722.
        After reading defendant Hedrick his Miranda rights, Sgt. Paul told
him that he was not under arrest.               “The most obvious and effective means
of demonstrating that a suspect has not been taken into custody is an
express advisement that the suspect is not under arrest and that his
participating in questioning is voluntary.”                  United States v. Elzahabi,
557 F.3d 879, 883 (8th Cir. 2009), cert. denied 129 S.Ct. 2781 (2009).
        The police did not employ strong arm tactics or deceptive strategies
during the questioning, and the interview was not police dominated.                       The
officers wore plain clothes, and did not display their firearms or badges
other than wearing them on their belts.                     Defendant Hedrick was not
searched or restrained in any way, and was confident enough to refuse to
allow    the    police    to    search    his    house.     After     searching    defendant
Hedrick’s      trailers,       garage,    and    outbuildings,       the   law    enforcement
officers left his property.              Defendant Hedrick was not arrested.           “Lack
of arrest is a very important factor weighing against custody.”                       United
States v. Galceran, 301 F.3d 927, 930 (8th Cir. 2002).
        Based on the above findings, the court determines that defendant
Hedrick was not in custody during the interrogation.




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B.    Voluntariness of Statements and Consent
       “Statements to law enforcement authorities are voluntary if they are
the product of an essentially free and unconstrained choice by [their]
maker.”    Vinton, 631 F.3d at 482 (internal citations omitted).                  “A
statement is not considered involuntary unless the police extorted it
from the accused by means of coercive activity.”             Id.   “A statement is
involuntary when it was extracted by threats, violence, or express or
implied   promises   sufficient   to    overbear    the     defendant’s   will   and
critically impair his capacity for self-determination.”            Boslau, 2011 WL
500204, at *6.       Factors to consider include: “the degree of police
coercion, the length of the interrogation, its location, its continuity,
and the defendant’s maturity, education, physical condition, and mental
condition.”    Id.
       When evaluating the voluntariness of a consent to search, the court
must look to the totality of the circumstances under which the consent
was given.    United States v. Jimenez, 478 F.3d 929, 932 (8th Cir. 2007).
“The ultimate question is whether the individual’s will ha[s] been
overborne and his capacity for self-determination critically impaired,
such that his consent to search must have been involuntary.” Vinton, 631
F.3d at 482 (internal citations omitted).          The court must consider the
suspect’s characteristics and the environmental characteristics. United
States v. Griffith, 533 F.3d 979, 984 (8th Cir. 2008).                    Suspects’
characteristics include:
       (1) their age; (2) their general intelligence and education;
       (3) whether they were intoxicated or under the influence of
       drugs when consenting; (4) whether they consented after being
       informed of their right to withhold consent or of their
       Miranda rights; and (5) whether, because they had been
       previously arrested, they were aware of the protections
       afforded to suspected criminals by the legal system.

Id.   Environmental characteristics include:
       [W]hether the person who consented (1) was detained and
       questioned for a long or short time; (2) was threatened,
       physically intimidated, or punished by the police; (3) relied
       upon promises or misrepresentations made by the police; (4)
       was in custody or under arrest when the consent was given; (5)
       was in a public or secluded place; or (6) either objected to
       the search or stood by silently while the search occurred.


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Id.
        The    government      has   met   its    burden    of    proving    that    defendant
Hedrick’s statements and consent to search were voluntary.                            Hedrick
voluntarily came to the station to give a statement, and was not afraid
to refuse to consent to a search of his house.                     The police were neither
physically          nor   mentally   abusive     to    Hedrick,     and    Hedrick    was   not
restrained or detained in any way.               Boslau, 2011 WL 500204, at *6 (noting
that “the investigators were not physically aggressive” and “did not
create any more psychological pressure than is commonly associated with
interrogations”).           Although the officers stated that he might receive
leniency if he cooperated, this did not overbear Hedrick’s ability to not
cooperate with the police.             Id.     (that “the investigators stated that
they may prosecute [the defendant] and that they may be willing to show
him leniency if he cooperated” did not “overbore [the defendant’s]
will”).       The interview took place at the station, but was only two hours
long.         See    Simmons   v.    Bowersox,     235     F.3d    1124,    1133    (two    hour
interrogation was “not . . . particularly lengthy”).
        At the time of the interview, Hedrick was 38 years old; he owned his
own business; and he had no physical or mental conditions that would
render his statements involuntary.                    Sgt. Paul also read Hedrick his
Miranda rights before Hedrick made the challenged statements and gave
consent.       United States v. Hambrick, 630 F.3d 742, 749 (8th Cir. 2011).
See also Williams v. Norris, 576 F.3d 850, 868 (8th Cir. 2009) (“[I]t is
a rare case when a defendant can make a colorable argument that a self-
incriminating statement was compelled despite the fact that the law
enforcement authorities adhered to the dictates of Miranda.”).
        Although he was not aware of the protections of the legal system by
virtue of an extensive criminal history, given his age, intelligence, and
the statements given by the officers, he was sufficiently aware of the
protections of the legal system.
        That the law enforcement officers stated that they could arrest him
for his involvement and obtain a search warrant for his house does not
render his statements or consent involuntary.                       See United States v.
Bradley, 234 F.3d 363, 366-67 (8th Cir. 2000) (that officers threatened
to arrest suspect’s son did not render consent to search involuntary

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because although “concern for his son may have been a motivating factor,”
he had not “acted under duress or undue pressure”); United States v.
Severe, 29 F.3d 444, 446 (8th Cir. 1994) (that officers told defendant
that if he refused to consent to the search, the officers would obtain
a    search   warrant   was    “only   one     factor    in     the   totality   of   the
circumstances inquiry”).
       Based on these facts, the undersigned concludes that defendant
Hedrick’s statements were voluntary.


C.    Request for Counsel
       “When a defendant in custody invokes his right to counsel, the
police must cease all interrogation until counsel has been made available
to him.”      United States v. Banks, No. 4:08 CR 287 CEJ, 2008 WL 5054666,
at *2 (E.D. Mo. Nov. 20, 2008).         “Although the Fifth Amendment right to
counsel continues throughout the duration of police custody,” United
States v. Arrington, 215 F.3d 855, 856 (8th Cir. 2000), the defendant
must be “in custody” to claim the protections of this rule.                 Id. at 856-
57; Banks, 2008 WL 5054666, at *2.
       Because defendant Hedrick was not “in custody” at the time he said
“I think I need an attorney now,” there was no violation of his right to
counsel.      Banks, 2007 WL 5054666, at *2.
       Further, a suspect must “articulate his desire to have counsel
present sufficiently clearly that a reasonable police officer in the
circumstances would understand the statement to be a request for an
attorney.”     Davis v. United States, 512 U.S. 452, 459 (1994).              Defendant
Hedrick’s statement, “I think I need an attorney now,” has been found
ambiguous by other courts, such that officers need not end questioning.
Haplin v. Crosby, 8:97 CV 46-T-27EAJ, 2006 WL 709307, at *12 n.16 (M.D.
Fla. Mar. 21, 2006).          See also Davis, 512 U.S. at 462 (holding the
defendant’s statement, “Maybe I should talk to a lawyer,” was ambiguous
and thus not a request for counsel); Burket v. Angelone, 208 F.3d 172,
198 (4th Cir. 2000) (holding the defendant’s statement, “I think I need
a lawyer,” was not an unequivocal request for counsel).




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                              III.      CONCLUSION
     For the reasons stated above,
     IT IS HEREBY RECOMMENDED that the oral and written motions of
defendant Brian Lewis Hedrick to suppress evidence (Docs. 59, 96, 117)
be denied.
     IT IS FURTHER RECOMMENDED that the motion by the government for
determination by the court of the admissibility of arguably suppressible
evidence (Doc. 60) be denied as moot.
     IT IS HEREBY ORDERED that the motion of defendant Brian Lewis
Hedrick for severance (Doc. 95) is denied without prejudice to be refiled
during trial with a sufficient showing of prejudice.
     The parties are advised that they have 14 days to file written
objections to this Order and Recommendation.         The failure to file timely
written objections may waive the right to appeal issues of fact.




                                        /S/   David D. Noce
                                     UNITED STATES MAGISTRATE JUDGE


Signed on March 7, 2011.




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